Case 2:18-cr-00422-DJH Document 1223-4 Filed 08/19/21 Page 1 of 2




        Exhibit D
   Case 2:18-cr-00422-DJH Document 1223-4 Filed 08/19/21 Page 2 of 2




                              Total Credits
                         January 2015 - May 2017
Website Technologies LLC account with MBC Limited (d/b/a "GoCoin") in USD

                      Date             Sum of credit
                 2015 January          $    35,540.68
                 2015 February              13,039.10
                 2015 March                 15,852.89
                 2015 April                 21,000.06
                 2015 May                   34,803.99
                 2015 June                  24,950.18
                 2015 July                 234,217.85
                 2015 August               468,502.52
                 2015 September            503,083.58
                 2015 October            1,187,734.66
                 2015 November           1,546,430.74
                 2015 December           2,305,815.68
                 2016 January            2,631,832.32
                 2016 February           1,935,163.53
                 2016 March              2,370,125.47
                 2016 April              2,643,943.38
                 2016 May                3,564,376.24
                 2016 June               2,894,618.08
                 2016 July               2,862,489.84
                 2016 August             3,126,636.97
                 2016 September          2,481,482.04
                 2016 October            1,794,671.54
                 2016 November           3,405,676.64
                 2016 December           3,360,314.53
                 2017 January            2,117,661.74
                 2017 February           1,671,810.52
                 2017 March              2,146,932.51
                 2017 April              2,119,193.65
                 2017 May                2,116,017.89




                                                        USAO_BP-0025780
